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                       IN THE UNITED STATE DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


STAMPEDE MEAT, INC.,

       Plaintiff,

v.                                                  Case No. 2:20-cv-01160-MV-CG

MICHELLE LUJAN GRISHAM, in her official
capacity as GOVERNOR OF THE STATE OF
NEW MEXICO, HECTOR BALDERAS, in his
official capacity as the ATTORNEY GENERAL
FOR THE STATE OF NEW MEXICO, BILLY
J. JIMENEZ, in his official capacity as the
ACTING CABINET SECRETARY OF THE
NEW MEXICO DEPARTMENT OF HEALTH,
JAMES C. KENNEDY, in his official capacity as
the CABINET SECRETARY OF THE NEW
MEXICO ENVIRONMENT DEPARTMENT,
THE NEW MEXICO ENVIRONMENT
DEPARTMENT and THE NEW MEXICO
DEPARTMENT OF HEALTH,

       Defendants.


                           JOINT MOTION TO STAY PROCEEDINGS

       COMES NOW, the Parties, Defendants Governor Michelle Lujan Grisham, Acting

Secretary Billy J. Jimenez, The New Mexico Department of Health, Secretary James C. Kenney,

and The New Mexico Environment Department, by and through Holly Agajanian, Maria S. Dudley

and Kyle P. Duffy, Hector Balderas, by and through Joseph Dworak, together with Plaintiff, by

and through Ray | Peña | McChristian PC (Christopher J. Tebo and Moses B. Winston), and hereby

move this Court for its Order staying all proceedings in this matter. As grounds for this Joint

Motion, the Parties state and mutually agree that they require more time prior to participating in



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additional briefing or other action in order to address the substantive matters at issue in this case.

No party will be prejudiced by this action.

       WHEREFORE, the Parties request that this Court grant the Joint Motion to Stay

Proceedings until a subsequent motion and/or request for hearing is filed.

November 16, 2020                                     Respectfully submitted,

                                                      RAY | PEÑA | MCCHRISTIAN PC

                                                      /s/ Christopher J. Tebo
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                                                      Moses B. Winston
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                                                      Attorneys for Plaintiff Stampede Meat, Inc.

                                                      And

                                                      /s/ Holly Agajanian
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                                                      /s/ Kyle P. Duffy
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                                                      /s/ Maria S. Dudley
                                                      Maria S. Dudley
                                                      Associate General Counsel to
                                                      Governor Michelle Lujan Grisham

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                                   Lujan Grisham, Acting Secretary Billy J.
                                   Jimenez, The New Mexico Department of
                                   Health, Secretary James C. Kenney, and The
                                   New Mexico Environment Department,

                                   /s/ Joseph M. Dworak
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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 16, 2020, I filed the foregoing through the New Mexico

Electronic Filing system, which caused all counsel of record to be served by electronic means.


                                                    Respectfully submitted,

                                                    /s/Christopher J. Tebo
                                                    Christopher J. Tebo




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